Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 1 of 9




                                                                    JBS

                                                              Oct 3, 2022

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Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 2 of 9
Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 3 of 9




                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Alex Gorostola, being first duly sworn, hereby depose and state as follows:

                                         INTRODUCTION

        1.       I am a Special Agent with the U.S. Department of the Treasury, Treasury Inspector

 General for Tax Administration (“TIGTA”). I have been employed by TIGTA since 2010. I am

 currently assigned to the Southern Field Division, Miami, Florida office. Prior to working at

 TIGTA, I was employed as a Special Agent with the Internal Revenue Service (“IRS”) from 2008

 through 2010. In the course of my law enforcement duties, I have investigated matters involving a

 number of financial frauds, including COVID relief programs fraud.

        2.       As part of my current duties and responsibilities, I investigate criminal violations

 relating to white collar crime, including conspiracy, bank and wire fraud, money laundering, and

 many other illegal schemes, during which I have conducted physical surveillance, interviewed

 witnesses, reviewed and analyzed financial records, executed court-authorized search warrants,

 and used other investigative techniques to secure relevant information for use in criminal

 prosecutions.

        3.       This Affidavit is submitted in support of a criminal complaint charging JOHN

 RANDALL LASSITER III (“LASSITER”) with wire fraud, in violation of Title 18, United States

 Code, Section 1343 (the “SUBJECT OFFENSE”). As described below, there is probable cause to

 believe that LASSITER committed the SUBJECT OFFENSE in connection with a fraud scheme

 targeting the Small Business Administration’s (“SBA”) Paycheck Protection Program (“PPP”).

        4.       The information and statements contained in this affidavit are based upon my

 personal knowledge and investigation, as well as documents and information provided to me by

 other law enforcement personnel and witnesses. Since this affidavit is being submitted for the
Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 4 of 9




 limited purpose of securing a criminal complaint, I have not included each and every fact known

 to me concerning this investigation.

                                        PROBABLE CAUSE

                          Overview of the Paycheck Protection Program

        5.   The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act is a federal law

 enacted in or around March 2020 and designed to provide emergency financial assistance to the

 millions of Americans who suffered the economic effects caused by the COVID-19 pandemic.

 One source of relief provided by the CARES Act was the authorization of up to $349 billion in

 forgivable loans to small businesses for job retention and certain other expenses, through PPP. In

 or around April 2020, up to $310 billion in additional PPP funding was authorized by Congress.

        6.   In order to obtain a PPP loan, a qualifying business must submit a PPP loan application

 signed by an authorized representative of the business. The PPP loan application requires the

 business (through its authorized representative) to acknowledge the program rules and make

 certain affirmative certifications in order to be eligible to obtain the PPP loan. In the PPP loan

 application, the small business (through its authorized representative) must state, among other

 things, its: (a) average monthly payroll expenses and (b) number of employees. These figures are

 used to calculate the amount of money the small business is eligible to receive under the PPP. In

 addition, businesses applying for a PPP loan must provide documentation to the lending institution

 showing their payroll expenses; typically, businesses would supply documents showing the total

 amount of wages paid and payroll taxes reported to the IRS.

        7.   A PPP loan application must be processed by a participating lender. If a PPP loan

 application is approved, the participating lender funds the PPP loan using its own monies, which

                                                 2
Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 5 of 9




 are 100% guaranteed by the Small Business Administration (“SBA”). Data from the application,

 including information about the borrower, the total amount of the loan, and the listed number of

 employees, is transmitted by the lender to the SBA in the course of processing the loan. In the

 ordinary course of providing the loan guaranty, neither the SBA nor any other government agency

 checks IRS records to confirm that the applicant had paid the payroll taxes represented in the PPP

 applications.

        8.    PPP loan proceeds must be used by the business on certain permissible expenses-

 payroll costs, interest on mortgages, rent, and utilities. The PPP allows the interest and principal

 on the PPP loan to be entirely forgiven if the business spends the loan proceeds on these expense

 items within a designated period of time after receiving the proceeds.

        9.       The SBA required applicants to submit a Form 2483 or Form 2484 to obtain a loan

 under the PPP. This form requires applicants to identify the average monthly payroll and number

 of employees. The form also requires a certification (a) that the applicant “was in operation on

 February 15, 2020 and had employees for whom it paid salaries and payroll taxes”; (b) that

 “current economic uncertainty makes this loan request necessary to support the ongoing

 operations of the Applicant”; and (c) that “the funds would be used to retain workers and maintain

 payroll or make mortgage interest payments, lease payments, and utility payments, as specified

 under” the PPP.

             LASSITER’s Fraudulent PPP Application on Behalf of United Travel Plus

        10.      On or about April 9, 2020, LASSITER submitted a materially false and

 fraudulent PPP loan application to Harvest Small Business Finance, LLC (“HSBF”) on behalf

 of a Florida company called United Travel Plus (“UTP”) seeking a loan of $69,500. HSBF is

                                                  3
Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 6 of 9




 a lender located in Laguna Hills, California. HSBF is an approved SBA lender and authorized

 participant.

        11.     On the SBA Form 2483 filed that day, LASSITER listed himself as the

 manager and 100% owner of UTP. LASSITER also claimed that UTP employed five people

 and paid wages of over $300,000 to these employees in 2019. LASSITER listed his personal

 identifying information on the application, including a personal address corresponding to his

 driving records and a phone number associated with him.

        12.     LASSITER listed UTP’s corporate address as an address in Miami-Dade

 County, Florida. He also listed his own personal residence as an address in Broward County,

 Florida. Real estate and driving records confirm that LASSITER lived in Broward County at

 the time he submitted the UTP loan application.

        13.     On the application, LASSITER signed and certified: (a) that the information in

 the application was “true and accurate in all material respects”; (b) that “knowingly making a false

 statement to obtain a guaranteed loan from SBA is punishable under the law, including ... under

 18 USC 1014 by imprisonment of not more than thirty years”; and (c) that he “acknowledge[d]

 that the lender will confirm the eligible loan amount using required documentation submitted.”

        14.     These statements were materially false and fraudulent. According to Florida state

 records, UTP is not an active Florida company, nor is it a registered fictitious name associated

 with an existing Florida company. Those records also indicate that there was no record that UTP

 had filed Florida state tax returns or paid Florida state taxes.




                                                    4
Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 7 of 9




        15.     LASSITER also submitted several documents in support of the loan application,

 including bank statements and tax records. These documents contained false and fraudulent

 information.

        16.     LASSITER submitted four IRS Forms 941 for each quarter of 2019. An IRS Form

 941 is an employer’s quarterly federal tax return that employers are required to submit to the IRS

 to report quarterly payroll taxes (e.g., Medicare, social security, etc.) paid on behalf of employees.

 Several aspects of these forms show that they were fraudulently altered. First, each of these

 documents were dated April 14, 2020, even though 941s should have been filed quarterly

 throughout the 2019 tax year. Second, the documents contain strikingly similar wage and tax

 numbers to other PPP loan applications LASSITER filed on behalf of other companies around the

 same period, suggesting he simply used the same fraudulent numbers across multiple applications.

 Third, the IRS maintains a database of all filed IRS Form 941 and yet has no record of these forms

 for UTP submitted by LASSITER.

        17.     LASSITER also submitted a reference letter from the bank account he provided on

 the application as the corporate account where HSBF should transfer the loan funds. The letter

 indicated that the account belonged to UTP and was a corporate account. However, account

 statements obtained directly from that account confirm that the account belongs to LASSITER in

 a personal capacity. Indeed, the bank has confirmed that they do not hold corporate accounts.

        18.     HSBF approved the PPP loan for UTP on April 29, 2020 for $69,500, and the funds

 were transferred into LASSITER’s Ally Bank account on May 15, 2020 via a wire transfer from

 the California-based bank to LASSITER’s personal bank account in Florida. The bank is



                                                   5
Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 8 of 9
Case 1:22-cr-20485-CMA Document 1 Entered on FLSD Docket 10/03/2022 Page 9 of 9
